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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


 REDI-DATA, INC.,                                   Case No. 2:20-CV-17484-JMV-JBC

                       Plaintiff,

           -against-

 THE SPAMHAUS PROJECT a/k/a THE                     Document Electronically Filed
 SPAMHAUS PROJECT LTD.,

                       Defendant.




                             NOTICE OF APPEARANCE


      PLEASE TAKE NOTICE that Alvin C. Lin of Morrison Cohen LLP hereby

enters his appearance as counsel for Defendant The Spamhaus Project S.L.U. in the

above-captioned action. Defendant The Spamhaus Project S.L.U. intends to move

to dismiss the action for lack of personal jurisdiction.
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Dated:   December 23, 2021         Respectfully submitted,

                                   MORRISON COHEN LLP

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